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Page 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK 2207:
Index No. 13 Cv 1432

WILLIAM HENIG, on behalf of himself

and all others similarly situated,
Plaintiff,
-against-

QUINN EMANUEL URQUHART & SULLIVAN,
LLP and PROVIDUS NEW YORK, LLC,
Defendants.
a
PRIVILEGED - CONFIDENTIAL
SUBJECT TO PROTECTIVE ORDER

July 3, 2014
9:43 a.m.

Deposition of WILLIAM HENIG,
taken by Defendants, pursuant to
Notice, held at the offices of Quinn
Emanuel Urquhart & Sullivan, LLP,

51 Madison Avenue, New York, New York,
before Kathleen Piazza Luongo, a
Notary Public of the State of New
York.

 

 

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HENIG - PRIVILEGED - CONFIDENTIAL
assigned stations and our e-mail
addresses and they told us, okay, we're
waiting for the docs to load and by that
point it was after lunch and the docs
still didn't -- I don't think they loaded
at all the first day because it was
backed up and then the next day, and we
still stayed, I think we were let go the
first day because the docs weren't ready,
they let us go around five or six and the
second day I think the documents were
ready and we started reviewing through

the documents on Relativity.

Q. What kind of training did you
have?
A. It was a few hours. They gave

a brief overview of the litigation, they
explained to us, an attorney from Quinn

Emanuel explained to us, um, explained

 
   

about, um,
ether, um, issues pertaining to that
which really I didn't really have any
background in, I still didn't really

understand it after the brief training;

 

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HENIG - PRIVILEGED - CONFIDENTIAL -
and then, um, they gave us some training
materials and guide books which we were
to reference during our review and then
we went to our stations and were told to
start.

Q. Let me step back just in time.

I don't think I asked how you
found out about the document review
project in order to apply.

A. I received an e-mail blast from
Providus, I guess they had my name, I
don't know how, maybe at some point they
had received my -- I had gone to their
website and put my e-mail address in and
geographical information and after
receiving that blast I applied.

Q. And then were you interviewed

live and in person by anyone?

A. Yes, by a gentleman named Ken
Tanzer.
Q. What happened at that

interview?
A. It was very congenial. He

glanced at my resume and I think it was

 

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HENIG - PRIVILEGED - CONFIDENTIAL :
-- he didn't really ask that many
questions -- it was a few minutes. It
was very -- I think the only issue was

that if I had any time conflicts, which I
didn't. If I did, I mean there might
have been some stuff involved with my
practice even though at that time my
practice was really, really slow, I had
informed Kush Bambrah about the times
occasionally I would have to miss and he
was okay with that.
In the interview it was not

really anything substantive asked, no.

Q. Did Mr. Tanzer tell you
anything about the project?

A. Um, very briefly. He might
have revealed it to me, I don't remember.
I think he revealed to me at that point

it was involving |

 

He could
have -- actually maybe not, because I was
not really fully hired yet. He didn't go

over that.
Honestly, I really don't recall

all the details of that interview. It

 

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HENIG - PRIVILEGED - CONFIDENTIAL
was noneventful, it was very polite. He
didn't -- he didn't really grill me that
much at all.

Q. Did he tell you that you
wouldn't be practicing law?

A. No.

QO. You thought you were going to

be practicing law on this project, right?
MR. KIRSCHENBAUM: Objection.

This is north of ten times that this

question was asked.

A. Um, TIT'1ll tell you what I knew.
I knew I was going to be reviewing
documents. The only thing I knew from
document review was from my many friends
out of law school who had been doing this
for a long time and they told me it was
asinine work.

Q. So why did you apply?

A. Because I needed money, I had a
baby at that time, a mortgage to pay and
I was desperate for money.

Q. Did you ask Mr. Tanzer any

questions about whether the project would

 

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HENIG - PRIVILEGED - CONFIDENTIAL
entail the practice of law?
A. You are jogging my memory now.

I do remember I think he asked me a lot
about -- I think he asked me if I had any
experience with the computer software
program, I think he mentioned Relativity,
and I told him no and he said that's
okay, we'll help you with that. I don't
know if those were his exact words but
that was the main gist of the
conversation, with the software.

He definitely didn't discuss
law or I didn't ask him will this be the
practice of law. I think he might have
mentioned conflict issues, that was
very ~-- to the best of my recollection I
think he might have mentioned that but...

Q. And are you relying on anything
Mr. Tanzer said in your claim that you
weren't practicing law in your six weeks
on the document review project?

A. No, no.

Q. Did you ever talk to Mr. Tanzer

during your six weeks?

 

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relates to the

   

correct?

6 A. Yeah.
7 Q. Now, turn to page 16 of the

8 Exhibit 5.

9 A. Sure. One moment. Okay.

10 Q. You were trained on Ds

11 claims in the cases; correct?

12 A. I can't say I was. I don't --
13 it was a three-hour training, maybe a

14 little more or less, I'm not sure. I

15 think it was a little bit more than three
16 hours.

17 Um, claims? This was -- the

18 only thing I do remember this stuff being
19 mentioned very quickly and I didn't

20 really comprehend this at the time and,
21 quite frankly, never really did.

22 Q. And you didn't understand it

23 because you have to be a certain kind of
24 lawyer to understand it; is that why?

25 MR. KIRSCHENBAUM: Objection.

 

 

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HENIG - PRIVILEGED - CONFIDENTIAL.»

A. I knew enough in my, h, as an
educated person that this is stuff that
would require extensive education and
time and experience to fully grasp, not
just a three-hour training.

Q. And so what did you do when you
were given training including on (o£
claims and didn't understand it?

MR. KIRSCHENBAUM: Objection.

There is no foundation for that.

A. What did I do?
Q. Yes.
MR. KIRSCHENBAUM: Excuse me.

You mischaracterized his testimony.
He testified that -- that's not what
he testified to. What you just
stated was an incorrect
characterization of his testimony.
Please don't do that.

MR. GREENWALD: You can answer
the question if you understand it.

MR. KIRSCHENBAUM: Please read
the question back.

(The requested portion of the

 

 

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pad and we will mark it as an exhibit.

MR. KIRSCHENBAUM: Here's a
pad.

MS. SUTTON: We can get you a
full legal pad in case you need it.

THE WITNESS: Can I write on
this?

MS. SUTTON: If we're going to
mark it as an exhibit it would seem
easier to get you a full legal pad.

THE WITNESS: Okay.

(Whereupon, a brief recess was
taken.)

THE WITNESS: What's the
question?

MR. GREENWALD: Read back the
question, please.

(The requested portion of the

record was read.)

A. Oh, okay. Yes, there is.
Q. And what is that?
A. There is a list of names and

cases that I, actually and these tables

and chart, and there is a tag table that

 

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HENIG - PRIVILEGED - CONFIDENTIAL
was referenced to extensively. In fact
these documents were almost like our
bible. There were a bunch of others
given but this was the first of them and
we would refer to them exhaustively in
tagging.

Q. And so it's page 21 of Exhibit
5 that you are referring to?

A. Yes.

Q. And your contention is it's
page 21 of Exhibit 5 --

A. Oh, I'm sorry, I'm going to
rephrase.

Q. Okay.

A. It was not only page 21. There
were other tables that you have here, um,
and list of names that we would review.
So 21 is part of it.

It's page 23, 24, I mean
wherever there were charts we would -- we
would do it. Page21 was definitely very,
uh, very useful chart.

Q. And so let's start with page

21.

 

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A. Okay.

Q. Your contention is page 21 told
you not to use any judgment?

MR. KIRSCHENBAUM: Objection.

A. Did page 21 tell us not to use

judgment? I -- I -- we were trained, the

main expectation once we were in the
thick of everything was to tag responsive
and nonresponsive and, um, and the basis
for that was based on what the -- these,
uh, what the key trigger words and the

sources of the documents.

Q. There is an explanation next to
the word "responsive," right?

A. There is some language there.

Q. Did you read that at the time?

A. Yes.

Q. It doesn't say look for names

and if the name appears put it in the
responsive category, does it?

A. We were not trained to, uh, to
know what all the documents were by rote.
We would have to constantly refer to just

to see if a -- if a keyword was there.

 

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HENIG - PRIVILEGED - CONFIDENTIAL

Q. My question is the explanation
of responsive contained on 21.

A. Yes.

MR. KIRSCHENBAUM: Is that a
question or a statement?

Q. I'm focusing you on that. Are
you looking at that?

A. Yes.

Q. Does that say anything about
looking for the presence of a name and
marking it responsive if the name is
there?

A. There it does not say that.

Q. You would agree with me that

the explanation is use this tag for
documents responsive to Defendant's

request for production limited by |

 

objections; correct?
A. That's what it says there.
Q. And to do that you would have

to understand what the Defendant's
requests for production were and what

"s objections are; right?

 

MR. KIRSCHENBAUM: Objection.

 

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HENIG - PRIVILEGED - CONFIDENTIAL.

A. No.

Q. No?

A. We did not have to understand.

Q. You were given the Defendant's
requests for production; right?

A. You are talking about the
discovery demands or what's in this
training material?

Q. You were given Defendant's
requests for production; right?

MR. KIRSCHENBAUM: I believe he
asked you for a clarification.

Please answer.

A. Do you have an example of that?
Because I don't -- I don't completely
recall.

Q. So you don't recall whether or
not you were given the requests for
production?

A. Um, if you don't mind, is a

request for production the same as a
discovery demand, like a document demand?
Q. Were you given document

demands?

 

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A. We were definitely given a lot
of pleadings, I recall. It's possible we
were given, I don't remember. If there
is anything that you have that would
refresh my recollection that would
assist.

Q. Why were you giving pleadings
if you were just looking for keywords and
documents?

MR. KIRSCHENBAUM: Objection.

A. I think they gave us copies of
what they, uh, that would pertain to the
litigation, but we didn't have to use it
at all.

QO. You spent time reading them;
right?

A. I glanced over them.

Q. You billed the client for
reading them; right?

MR. KIRSCHENBAUM: Objection.

A. I don't think so, no. Billing
the client, this job here, they expected
us to tagging.

MR. KIRSCHENBAUM: Is there a

 

 

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HENIG - PRIVILEGED - CONFIDENTIAL

Q. So were the tables on page 21
and the following pages your bible in
doing the review?

A. All the tables that were given
to us, and there were many of them, and
the list of names were very useful, yes,
they were.

Q. So how can you tag something
responsive or not responsive unless you
know what the requests for production
are?

A. Because responsive documents
things were -- responsive documents were
-- there were often keywords that were
highlighted in the Relativity that made
it obvious they were responsive.

Things that were not responsive,
it was very clear that they were, again,
we were given very high expectations to
plug through lots of documents ina
limited amount of time.

It came to the point they
wanted us to do almost one document a

minute, and things that were not

 

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HENIG - PRIVILEGED - CONFIDENTIAL
responsive were clearly publicly
available publications that were given
to bankers and people in the industry.
They were very esoteric, um, charts and
graphs. There were hundreds and hundreds
of those that someone without any
preexisting knowledge or with a three-
hour training could not possibly
decipher, um.

Things that were tagged as
responsive often had -- were -- came from
e-mails and the list of names that you
gave us, or to those people, um, and/or
were involved with the, uh, cross-
reference with these, um, with these
charts.

Q. A computer could look for
search trends; right?

A. I suppose it could, yes.

Q. And it did, it gave you
documents that were selected based on
search trends; right?

A. Honestly, I have no idea how

they were selected. At the beginning of

 

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HENIG - PRIVILEGED - CONFIDENTIAL
a day, of a shift, we would be given a
list of batches, I believe, and you would
just randomly select one and then the
documents would pop up on Relativity.
I don't know how they were
preselected. I have no idea.

Q. And the documents, the computer
could highlight terms in the document;
right?

A. It frequently did, yes.

Q. So whether or not a term was
present in a document computer, you

already knew that before you even looked

at it; right?

A. Yes.

Q. So your job must have been
something different than determining
whether or not there was a term in the
document; right?

MR. KIRSCHENBAUM: That's a
statement. Are you asking a question?

Q. Right.

A. Is that a question?

Q. Yes.

 

 

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HENIG - PRIVILEGED - CONFIDENTIAL
A. Often it wasn't.
Q. Why not?
MR. KIRSCHENBAUM: Objection.
A. Often the computer already

pretty much, right, was able to highlight
the -- the, uh, responsiveness of the
document and by immediately visualizing
the highlighted, I think it was yellow
highlighting, I would click responsive.
Q. But the computer didn't put it
in the responsive category, you would
have to look at the document and look at
the yellow highlighted terms to make some

kind of determination; right?

MR. KIRSCHENBAUM: Objection.
A. Um, it did not take much
thought.
Q. So you were bored by the job?
A. Extremely.
Q. So why didn't you quit?
A. As I stated, I needed money, as

did every other human being.
MR. KIRSCHENBAUM: If that was

the reason I'd quit this deposition.

 

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Q. You were also reviewing for
besides responsiveness and not
responsiveness you were reviewing for

privilege; right?

A. Yes, I was.
Q. What is privilege?
MR. KIRSCHENBAUM: Objection.

Calis for a legal conclusion.

A. Do you want me to say what --
are you asking me to educate you about
what privilege is or do you want to know
what they decided what we were supposed

to tag as privileged?

Q. What is privilege?
MR. KIRSCHENBAUM: Objection.
A. Privilege is in the -- I mean,

outside of this project my knowledge of
privilege was things that cannot be
divulged to anyone expect the attorney
and the client.

Q. You were reviewing {|

 

internal documents; right?
A. They were not all internal,

many of them were.

 

 

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understood was to determine whether or
not the documents that you were reviewing
were privileged; right?

A. Yes.

Q. And what process did you go
through to determine that?

A. Many of the documents had --
had titles, like such as this one,
privileged and confidential, and they
were highlighted and that was a quick
giveaway.

When there was e-mails one of
the first things I would check was
whether it was from the list of attorneys
that was disseminated to the document
reviewers, one of those names, um, came
up, I would immediately tag it as
privileged.

Q. And what about if you saw a

document that was written by a lawyer but

 

sent outside of §
MR. KIRSCHENBAUM: Objection.
A. Io owas always was erred on the

side of caution and I would tag those as

 

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privileged.

Q. What do you mean by "err on the
side of caution"?

A. As if the name came up,
attorney's name came up, I tagged as
privilege. There was no quality
assurance or anything. There was no one

who told me whether I would tag something
right or wrong. So when it came to
something, an issue of privilege, I was
not taking any chances.

Q. So you thought about it and
said, you know, I see this has gone
outside but I shouldn't take any chances,
it goes through a second review, I'll tag
it as privileged?

MR. KIRSCHENBAUM: Objection.

A. To the extent if I saw a
lawyer's name on it I would put it in the
privilege bin.

Q. But those weren't your
instructions, were they?

A. Um, the instructions were,

let's see, is there -- is there a

 

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because I was on the e-mail list.

Q. And you received e-mail
instructions about the review from time
to time; right?

A. Yeah.

Q. And do you see that it says "if

you see and know that priv has been

broken you may now reframe from tagging
priv"; do you see that?

A. Oh, okay.

Well, obviously they had to
make that -- they had to specify that.

Q. Did you understand what that
meant?

A. Um, I really don't remember
this e-mail, so from reading it now, um,
I do understand what it means.

Q. What does it mean?

A. What he says, he explains
himself. He says that if it is sent to

someone outside, it went outside to the

 

or their attorneys and
consultants you can skip the priv tag, so

that's what it means.

 

 

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Q. That would mean that the
document would have the name of the
attorney in it; right?
A. It should.
Q. And yet you are not going to

mark it privileged despite the presence
of the name of the attorney; right?

A. That's what he wanted, that's
what he instructed, but it doesn't mean
that I got batches of documents that
pertained to these instructions.

Q. Did you follow the
instructions?

A. I always followed the
instructions to the best of my ability.
But, again, there's instructions and

often these little e-mail blasts but, um,

from the e-mails -- from the Relativity
documents it wasn't always so -- it
wasn't always made -- I'm just gonna --
it wasn't always -- we didn't always get

things that fell under what he was --
what he was talking about.

Q. But if you saw a document that

 

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Page 100

HENIG - PRIVILEGED - CONFIDENTIAL
had the lawyer's name but you could see

it was sent outside of [| | you were

 

instructed to not mark it privilege;
correct?

A. That's what this instruction
said.

Q. And you would have to read the
document and the whole string to really
understand that; right?

A. No, you would just have to see
to whom and from it was being sent.

Q. Even though it would have a
lawyer's name in it; right?

A. No, if the lawyer's name was in
it then you would just have to see the
person it was being to. Didn't have to
analyze the document.

Q. And you would have to
understand who the person was that it was
being sent to; right?

A. No, we just had to go and look
on the list of attorneys and see if it
was an attorney.

Q. But you would have to determine

 

 

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Page 102

HENIG - PRIVILEGED - CONFIDENTIAL
asking me how I, really I just went by
if -- if it was outside (IMM or the Ga
you have to go by what was at the end of
their e-mail address, so it doesn't

require much analysis.

Q. It would require some analysis
then?
MR. KIRSCHENBAUM: Objection.
A. Just to read an e-mail address.
Q. And know whether or not they're

a consultant; right?

A. There's no way someone could
know that the person is a consultant
unless there is a list of names given.

If that's not given someone who have to
ask a supervisor.

Q. You were encouraged to ask
supervisors if you had questions; right?

A. I did frequently and frequently
they didn't know themselves.

Q. And so there were times that
you marked documents I can't tell whether
or not this is privileged; right?

A. A few times.

 

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Page 103
HENIG - PRIVILEGED - CONFIDENTIAL
Q. Why did you do that?
A. It wasn't -- it wasn't made

clear whether it was addressed from or to
an attorney, um, it could have -- I don't
have the document in front of me that you
are referencing -- it could be that there

was, uh, a, uh, maybe a contractual or

maybe a, uh, a, uh, attorney-client tag
on it that said like one of those, uh,
blurbs.

Q. And that's why you couldn't

tell whether or not it was privileged?

A. The way Relativity was -- was
not always easy to maneuver with software,
it would sometimes take twenty minutes
just to load a document, and going back
and forth, given the pressure to plug
through document after document, when you
have to go back you would lose a lot of
precious time and then not meet your
quota; so often people were scared to go
back to find a source if it would take
half an hour just to hit the back button

with all the documents to load.

 

 

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Page 105

HENIG - PRIVILEGED - CONFIDENTIAL
you did when you were working on the
document review project.

MR. KIRSCHENBAUM: Objection.

To the extent you are asking
his process it's been asked and
answered many times.

A. As I stated, I was about to --
my understanding and everyone I attempted
to seek assistance from was the attorney
privilege list was what we would refer to
and that was given out to us in the
training materials.

Q. The training materials had page
after page about privilege; right?

A. Um, which particular one are
you referring to?

Q. So the PowerPoint, Exhibit 5,
starting on page 26, going on to 27,
going on to 28, then a list of key
attorneys.

MR. KIRSCHENBAUM: Is there a
question pending?

A. Do you have a question?

Q. You would agree that your

 

 

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Page 107

HENIG - PRIVILEGED - CONFIDENTIAL
I did read that in the charts and it said
to use your discretion, but it was never a

big, uh, focus.

Q. Just going back to Exhibit 5.

A. Exhibit 5, yes?

Q. And the chart on page 19 --
sorry, not 19 -- the chart on page 21.

A. Um hum.

Q. That's what you described as

one of your bibles; right?
A. Definitely was useful.
Q. It asked you to tag documents

as key docs; right?

A. It definitely see it listed
there.

Q. What was a key doc?

A. Honestly, I don't know.

Q. But you got instructions on it,
right?

A. It was not reasonably expected
for us to use that tag. Quite honestly,

frankly I don't believe I ever did.
Q. What do you mean it was not

reasonably expected for you to use that

 

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HENIG - PRIVILEGED ~- CONFIDENTIAL
tag?

A. The main effort was on
responsiveness, nonresponsiveness and
privilege. Key doc was not part of the,
uh -- key doc was not -- I was never told
to use it.

Q. You were told right here to use
it, right?

MR. KIRSCHENBAUM: Objection.

Are you arguing with him?

A. It says it's on the list there.
There's other things there, too.

Q. So were you told or not told?

MR. KIRSCHENBAUM: Objection.

Asked and answered.

A. It was not properly explained,
no

Q. You got this document; right?

A. Yes.

Q. And you even described this
table here on page 21 of Exhibit 5 as
your bible; right?

A. Yeah.

Q. And it tells you in the

 

 

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1 HENIG - PRIVILEGED - CONFIDENT
2 explanation what a key doc is; ri
3 A. Not really, no, that do:
4 really explain much of anything.

5 Q. Can you read the explan.
6 please?

7 A. "Use this tag for docum:

8 that directly relate to whether o:

9 claims are actionable. Example —

  

sparingly. One percent of docume:

14 reviewed."

15 Q. To your mind that's not
16 A. Um, it was never really
17); expected for us to use that.

18 Q. How do you know it was
19 expected when it was on the chart
20 was your bible?

21 A. Um.

22 MR. KIRSCHENBAUM: I'm
23 that's an argumentative quest.
24 You might want to rephr
25 so that it is a preper deposi

 

 

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Page 117

HENIG - PRIVILEGED - CONFIDENTIAL

A. Um, I wasn't -- we were not
trained enough and given enough
background information to really
comprehend what a key doc would be, so
therefore -- and the --~ the expectation
of us was to tag "responsive" or
"nonresponsive" or "privileged." We
didn't get into key doc.

I mean, I'm sure there are
people that did. There are always people
who want to go above and beyond and show,
be a goodie-goodie and show that, you
know, they're doing things; but there
wasn't -- there was no one coming to us
and saying, you know, oh, by the way,
this was a key doc, you didn't key it as
a key doc.

There was no one who said oh,
you tagged this responsive when it was

nonresponsive, there was nothing, it was a

free-for-all.

Q. You were there for six weeks;
right?

A. Yes.

 

 

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HENIG - PRIVILEGED - CONFIDENTIAL

Q. You don't know what happened to
people who did a second level review of
the work that you did after you left; do
you?

A. The people who did the second
review of the documents I -- I don't know
what happened to that and I would assume,
no, but of the things I tagged there was
no second level review going on while I
was there. There was no one who looked
at any of those documents.

I mean, no one came to me and
said anything, whether I did something
right or wrong.

I'm sure when someone is
working on thousands of documents there
is no way your accuracy rate would be 100
percent. It's impossible.

Q. Do you know whether or not
there was realtime second level review of
your work?

A. I think there were, yes.
Whether they were doing our batches I'm

not sure. There was definitely a second

 

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HENIG - PRIVILEGED - CONFIDENTIAL
list and name list I tagged responsive.
That's the end of my answer.

Q. And key documents?

A. Key documents, as I said, I
didn't tag anything key document.

Q. But you were instructed to?

MR. KIRSCHENBAUM: Objection.

Asked and answered.

A. Look, I can't say I was. I
mean it's there. Obviously it's written
there in the materials, but no one ever
discussed it.

Q. And interesting documents?

A. I seem to recall a certain
supervisor saying that you don't have to
do that.

Q. Who said that?

A. Which page was that on?

Q. So let's go back to Exhibit 5.

A. Yeah.

Q. Page 21.

A. Yeah, interesting doc.

You see the instructions right

there on your bible tagging sheet; right?

 

 

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HENIG - PRIVILEGED - CONFIDENTIAL
MR. KIRSCHENBAUM: Objection.

I'm going to ask that you stop

referring to it as the bible tagging

sheet. You made your joke like seven
times already so.

A. It was not, that was never
done, I never did that.

Q. You see that the instruction to
do that is there; right?

A. I wasn't given sufficient
training or knowledge to do that so, as
you said, asked, I mean was I concerned
about my work, yes, so that's why I
wouldn't tag that when I didn't have
sufficient training or background
knowledge to determine whether something
was an interesting doc.

Q. You were told to put 10 percent

of the documents reviewed with that tag;

right?
MR. KIRSCHENBAUM: Objection.
A. That's what it says there but
it was not -- that was not part of the

tagging process.

 

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HENIG - PRIVILEGED - CONFIDENTIAL
Q. What do you mean it was not
part of the tagging process?
A. Nonresponsive and responsive

and privileged were the primary emphasis
of this project.
Q. This was your training, right,
this document, Exhibit 5?
MR. KIRSCHENBAUM: Is that a

statement or a question.

Q. Right?
A. It is.
Q. So what do you mean it wasn't

part of your project?

A. I didn't utilize this and I do
recall that people -- okay. Based -- the
time pressure didn't even give us the
opportunity, even if, as you seem to
think that there was some analysis, which
there wasn't, um, even if that could be
done these documents -- everything was
based on what the chart would tell us
what to say, the list of name and key
phrases that would come up.

Q. What charts?

 

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Page 141

HENIG - PRIVILEGED - CONFIDENTIAL
the same questions like five to ten
times over the course of the
deposition.

THE WITNESS: You'll have to
ask it again or repeat it.

(The requested portion of the
record was read.)

A. Not by any staff supervisors,

Q. By anyone, right, you were not
told not to follow by anyone?

MR. GREENWALD: Strike that.

Too many negatives.

A. The time constraints we were
given rendered it impossible to -- to,
uh, to review documents to determine
whether any of these sub-tags applied.

Q. Let's talk about the time
constraints, what time constraints were
you under?

A. In the beginning, I know that
it came to a point within a week or two
that they wanted us doing something like

a document per minute, between five and

 

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HENIG - PRIVILEGED - CONFIDENTIAL
600 documents, I'm sorry, between, yeah,
about per hour like 50 to 60 documents

per hour.

Q. How were you told that?

A. Kush Bambrah.

Q. What did he say?

A. He came and told us orally.

These things were never put in writing.
He didn't want to be held by that.

Q. What did he say?

A. Um, all right, now that you
guys have the hang of things you should
be doing about a document a minute, after
about a week.

Q. And did you say to follow the

instructions I need more time?

A. I should have.

Q. Did you?

A. No, I didn't.

Q. So you stopped following the

instructions?
MR. KIRSCHENBAUM: Objection.
A. Did I stop following? I did

not stop following the instructions, no.

 

 

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HENIG - PRIVILEGED - CONFIDENTIAL

Q. So you kept following the
instructions looking for key docs and
interesting docs?

A. The instructions were, again,
the main thing that you had to do was
responsive and nonresponsive. I don't
think Relativity would let the document
move along unless you actually had one of
those, that was the main tag. So that's
what we kept to in order to fill the
quotas.

MR. GREENWALD: Please mark
this as the next exhibit.

(Whereupon, the above-mentioned
document bearing Bates numbers
QE00215856 - 860 was marked Exhibit 8
for identification.)

MR. GREENWALD: Please mark
this as Exhibit 9.

(Whereupon, the above-mentioned
document bearing Bates numbers
QBE00215861 - 863 was marked Exhibit 9
for identification.)

MR. GREENWALD: I'm showing you

 

 

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HENIG - PRIVILEGED - CONFIDENTIAL
Is that a statement or a
question.

A. I didn't ignore -- um, I didnit
ignore it. I read through it and I don't
believe I used this tag because, um,
because the main expectation, as all
along, was responsive and nonresponsive
and we all knew, it was common knowledge
and very evident that -- clearly evident
that the second level review team would
catch these issues if necessary.

Q. So you just didn't do your job

because someone else would catch it?

MR. KIRSCHENBAUM: Objection.
A. I never said I didn't do my
job.
Q. Well, it was your job to

determine whether something should be
tagged with the deliberative process
privilege; right?
MR. KIRSCHENBAUM: Objection.
A. Just a moment, please, for me
to review this.

[Witness peruses exhibit. ]

 

 

 

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HENIG - PRIVILEGED - CONFIDENTIAL
and say lawyer privileged; right?

A. Um, I mean that's a
hypothetical question because I never

encountered her. Based on what, I mean

 
 

. is saying that not
everything she did will be -- will be
privileged because she's not, even though
she is on the list some things she's not
doing is privileged.

Q. And she's telling you to read
the documents carefully; right?

A. Yes.

Q. And if a batch that you were

 
 

reviewing came up with ©
documents you'd have to read them
carefully and determine whether or not to
tag them as privileged; right?

A. That's what it would -- that's

what it's saying.

Q. Doesn't that require judgment?
A. Not extensive.

Q. Some?

A. I mean it doesn't necessarily

require the judgment of an attorney, um,

 

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HENIG - PRIVILEGED - CONFIDENTIAL
to determine.

Q. Whose judgment would it
require?

A. It would require, I mean anyone
could see what she's talking about,
anyone who could read.

Q. You did go to law school;
right?

A. I stated that, yeah.

Q. And you studied legal
professional responsibility at law
school; right?

A. Yeah.

Q. Learned about the
attorney-client privilege; right?

A. Yes.

Q. So you are particularly trained

in attorney-client privilege; right?

A. Yes.

Q. So you would have more training
than someone who didn't go to law school
regarding whether or not the
communication was privileged; right?

A. Um, obviously, yes.

 

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Page 174
HENIG - PRIVILEGED - CONFIDENTIAL
Q. You would have ignored the
instruction of (|
A. I would have, if I -- if I felt

that if -- honestly, I don't even
remember this e-mail so I'm relying on
theory right now.

I really don't remember this,
but if I incorrectly tagged something
privileged that shouldn't have been the
privileged review team would say oh, I
don't think this would be a problem. So
I always tried to err on the side of
caution.

(Whereupon, the above-mentioned
document bearing Bates number
QE00000540 - 541 was marked Exhibit
12 for identification.)

MR. GREENWALD: I'm showing you
what's been marked as Exhibit 12.

THE WITNESS: Okay.

Q. This is a document that you
actually reviewed.
A. Oh.

MR. KIRSCHENBAUM: Are you just

 

 

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HENIG ~- PRIVILEGED - CONFIDENTIAL
stating that for the record or are
you asking him?

MR. GREENWALD: Well, I'm

stating it for the record right now.

MR. KIRSCHENBAUM: Okay.

Q. And that you wrote on the tag
"Looks like this could be A/C but not
sure of the source," and the reason I
have the laptop here is because if you
want we can go to the spreadsheet with
all your coding decision.

A. Oh, wow.

Q. And connect it to this document
if you would like or we can just move
forward.

So if you would like me to take
you through that then I can do that, or
you can take my representation that you
coded this "looks like" what did I say,
"Looks like this could be A/C but not
sure of the source"?

A. Yeah, because it says
confidential on it so there is a trigger

word there.

 

 

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HENIG - PRIVILEGED - CONFIDENTIAL
A. So I can answer your or
question correctly.
Q. Why does how you tagged it have

to do with why you left a note in the
tag?
A. So it would help me refresh my
recollection of why I wrote that note.
Q. All right.
MR. KIRSCHENBAUM: Is there a

problem?

MR. GREENWALD: No.
MS. SUTTON: Here it is.
MR. GREENWALD: All right. We

will put it up on the screen and,
Ellie, if you could say for the
record the Bates number of the
document that you are pulling up.

MS. SUTTON: Sure.

MR. GREENWALD: I will step out
for one second.

(Whereupon, a brief recess was
taken.)

MS. SUTTON: Okay. So for the

record the document that we are

 

 

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HENIG - PRIVILEGED - CONFIDENTIAL
looking at has been produced with
Bates stamp QE 00000540 through 541.

It's internal Relativity ID
that corresponds to it is the letter
@ ana then the numbers 00693918.

MR. KIRSCHENBAUM: Is that your
representation?

MS. SUTTON: And so I'm looking
at QE -- up on the projector here we
have a document that has been
produced that has Bates number
QE000210823.

That document lists on it in
column A certain Relativity ID's and
then the row that has the Relativity
ID, that corresponds with the
document we just discussed and, yes,
we are making a representation that
the Relativity ID that I read into
the record corresponds to the
document that was produced with those
Bates numbers. I can scroll over if
you need to see anything else.

THE WITNESS: All right so --

 

 

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HENIG - PRIVILEGED - CONFIDENTIAL
-- any words in the document that keyed,
it's just the word "confidentiality" or
"confidential internal"?

A. Correct.

MR. GREENWALD: Please mark
this as Exhibit 13.

(Whereupon, the above-mentioned
document bearing Bates number
QEQ00000782 - 785 was marked Exhibit
13 for identification.)

MS. SUTTON: Okay.

For the record, the document
that is being marked as Exhibit 13,
which is QE00000782 through 785,
Quinn Emanuel is making a
representation that that coincides
with the internal Relativity ID
@> ocoargs, and I will now bring up
on the same spreadsheet that I
referred to earlier with the last
exhibit the coding on that document.

THE WITNESS: What -- oh.

MR. KIRSCHENBAUM: She's going

to pull it up.

 

 

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Page 183

HENIG ~ PRIVILEGED - CONFIDENTIAL
MS. SUTTON: All right.
CONTINUED EXAMINATION BY MR. GREENWALD:
Q. So now that you can see how you
coded Exhibit 13, do you see that you put

the comment in "Looks like it may be A/C.

Not 100% sure."

A. Right.

Q. And why did you do that?

A. Again, conflict and
confidential-internal distribution.

Q. But you didn't code it as
privileged, you instead inserted a
comment; correct?

A. Correct.

MR. KIRSCHENBAUM: Could I just

ask for a clarification.

The coding, the Relativity
number that you put in, is that for
this whole packet, pages QE782 until
the end, 785?

MS. SUTTON: Correct.

MR. KIRSCHENBAUM: So it's not
one page, it's a four-page -- the

four-page exhibit?

 

 

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Page 188

HENIG - PRIVILEGED - CONFIDENTIAL
Save you guys some effort. I mean
actually not stipulate but accept your
representation.

MR. GREENWALD: Okay.

MS. SUTTON: And to be -- well,
For the record, just to be clear, the
first two pages of this document
ending in Bates stamp 125708 through
709 are the parent document and the
child is 710 through 732.

MR. KIRSCHENBAUM: You mean the
two pages that precede what you have
produced?

MS. SUTTON: Yes, there was a
parent e-mail to this. This was the
attachment that was coded.

MR. KIRSCHENBAUM: Okay.

CONTINUED EXAMINATION BY MR. GREENWALD:
Q. So why did you mark this
deliberative process privilege?
A. I really don't remember. It
must have been I saw confidential and,
uh, if something was confidential,

according to the guideline if it came

 

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HENIG - PRIVILEGED - CONFIDENTIAL
from a -- if it came from an agency it
could be deliberative process, so I took
a wing -- I took a guess that that was
deliberative process.

I have no idea if this, in

Fact, is. Those are the two triggers to
that -- to my tag.
Q. So looking back at Exhibit 8 to

your deposition, page 3 of that document
contains the instruction about
deliberative process privilege; right?

A. Right.

Q. And there are three criteria
that a document has to meet to be
deliberative process privilege; right?

A. This is about policy.
Pre-decision, I have no idea what that
means, and government agency with
statutory, supervisory/regulatory
authority over an agency/GSE below.

Pre-decision is defined here,
too.

Q. And then you took that

definition and when you were sitting at

 

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HENIG - PRIVILEGED - CONFIDENTIAL

MR. GREENWALD: Or you can
accept the representation, whichever
you prefer.

THE WITNESS: Well, I really
don't know why. Honestly, I don't
know why I put key.

There were a few times when I
may have clicked on extra buttons,
I'll be honest but, um.

Q. What do you mean by "may have
clicked on extra buttons"?

A. Okay. This case I —

   

| )who my understanding is some big

wig -- big wig at the f and this

 

appeared to me to be a very internal,
very strongly worded e-mail, just I was
extremely disappointed to read, this guy
seemed pretty angry. This didn't seem
like something that should be buried.

Q. And you recalled the
instructions that one percent of the
documents should be marked key; right?

A. Um.

MR. KIRSCHENBAUM: Objection.

 

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Page 193

HENIG - PRIVILEGED CONFIDENTIAL

A.

It was honestly I don't

think I was even thinking about that.

Q.

What were you thinking about?

A.

worded e-mail from.

headquarters and, um -
was pretty wordy here.
he was talking about to

Q. And something

 

I just saw a very strongly

at

and he was he
I'm not sure what
be honest.

about the e-mail

when you read it made you think that

 

they, the document relates directly to
whether (|) s claims are actionable;
right?
MR. KIRSCHENBAUM: Objection.
A. No, I wasn't thinking that.
What were you thinking?
A. I was thinking that this could

seem like some head honcho who was pissed
and his e-mail shouldn't be tossed into

the nonresponsive pile, nonresponsive.
Q. You marked it responsive but
you also marked it key; right?
A. Because I've been working long

enough to know that higher-ups don't

 

 

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Page 194

HENIG - PRIVILEGED - CONFIDENTIAL
write e-mails that wrong unless there is
something really serious going on.
That's the reason, yeah, I felt like this
required further review, that's the only
reasons, to the best of my recollection.

Q. I'm sure the team thanks you
For thinking it required further review.
So when you read this e-mail
you thought to yourself I'm not going to
just be one of those people who just
tags, tags, tags and doesn't pay
attention, I want to be sure somebody
that's on the team that is going to
present the case sees it; right?
MR. KIRSCHENBAUM: Objection.
A. I generally was tagging,
tagging, tagging when everything was
pretty self-evident. When a unique thing
would pop up I would to the best of my
ability try to isolate it and set it
aside for other teams to determine. I
didn't really have to analyze this. I
didn't want it to get lost.

Q. Why were you terminated from

 

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Page 225

HENIG - PRIVILEGED - CONFIDENTIAL

It was the Quinn Emanuel --

what's called the Quinn Emanuel team.
Q. Just for the record what

document are you looking at?

A. I am looking at Exhibit 5,
page 2.

Q. Thank you.

A. And I believe, actually no,

wait, these people were not involved with
our project, they were in the actual
Litigation. They weren't -~- I don't
believe they were supervising us.

I don't remember their names,
but there were active partners, there
were associates who supervised us, there
was like two or three of them.

Q. Now, paragraph 36 of your
Complaint says, "Plaintiff was not
required to and in fact could not utilize
any legal knowledge and/or judgment."

Do you see that?

A. Yes.

Q. Did somebody tell you not to

use any legal knowledge and/or judgment?

 

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HENIG - PRIVILEGED - CONFIDENTIAL
A. No, I just didn't have to. Tt
wasn't on that level.
Q. You saw instructions to use
your discretion; right?
A. Um, in the written --
MR. KIRSCHENBAUM: Objection.
Go ahead.
A. In the packet I saw discretion,

I saw that phrase used.
Q. And you didn't understand that

to be an instruction to use legal

knowledge and/or judgment?

A. Um --

MR. KIRSCHENBAUM: Objection.

A. -- not at the time.

Q. Now do you understand that you
were being asked to use your legal
judgment and/or knowledge?

A. Not really, because -- no.

Q. Why not?

A. Because it wasn't -- the nature

of the work didn't require extensive
analysis or much of a thought process,

especially when there wasn't much of

 

 

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HENIG - PRIVILEGED - CONFIDENTIAL
any -- any oversight and the triggers to
what to code the documents were very
almost each -- 99 percent of the time
were very clearly delineated on the face
of the document.

Q. And the deliberative process
privilege didn't require legal knowledge
or judgment?

A. Yeah, I mean that was just a
simple one, two, three, step process just
by identifying from the agency, which
was, as I said, based on the cover sheet
was an emblem and name and then it said
confidential in like bold letters and
then I just took a guess, I assumed two
eut of three were there, I might as well
take a stab at it, that's deliberative
process.

QO. That's not using your
judgement?

A. No, any human being has
judgement. Does it require an attorney
to make that little simple judgement? In

my opinion, no.

 

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